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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL LEAGUE No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION INJURY LITIGATION MDL No. 2323

 Kevin Turner and Shawn Wooden, on behalf
 of themselves and others similarly situated,
                                           Plaintiffs,
             v.
 National Football League and NFL Properties, LLC,
 successor-in-interest to NFL Properties, Inc.,
                                         Defendants.

 THIS DOCUMENT RELATES TO:
 Weisberg & Associates
 v.
 SPID 100016069 (P.W.)
 Attorney Lien Dispute
 Case No. 1314


                               EXPLANATION AND ORDER

DAVID R. STRAWBRIDGE
UNITED STATES MAGISTRATE JUDGE                                              August 5, 2021

       Before the Court is a Petition to Establish Attorney’s Lien (“Lien”) seeking attorney’s fees

and costs from any Monetary Claim to be paid to Settlement Class Member (“SCM”) P.W., which

was filed in August 2018 by Weisberg & Associates (“Weisberg”). On August 23, 2018, the

Claims Administrator issued a Notice of Lien to P.W., who has been proceeding pro se. The

Claims Administrator ultimately issued a Notice of Monetary Award Claim Determination on

April 22, 2021 based upon the claim filed by P.W. in 2020, subsequent to the termination of

Weisberg’s representation.

       The District Court referred all Petitions for individual attorney’s liens to this Magistrate

Judge. (Doc. No. 7746). Rules Governing Attorneys’ Liens (“Rules”) were adopted on March 6,
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2018 and amended on October 3, 2018. (Doc. Nos. 9760 and 10283). Pursuant to Rule 12,

Weisberg and P.W. (the “Parties”) were advised of their right to consent to have the Magistrate

Judge issue a final Order to resolve this Dispute. The Parties have consented to jurisdiction by a

Magistrate Judge. Accordingly, this Opinion will serve as the final decision of the Court

concerning this dispute. 1

       The Parties have reached an agreement as to the allocation of the attorney fee in this case

and submitted Withdrawal of Attorney’s Lien Dispute forms (the “Withdrawal”) pursuant to Rule

24 dated July 20, 2021. The Withdrawal agreement clearly indicates what portion of the funds

withheld for counsel fee that each party will receive and sets forth an agreement as to how to

disburse any portion of the 5% holdback that may be released in the future. The agreement was

negotiated by parties that were informed and concerned about their own interest. Upon review of

the Withdrawal and the contingency fee agreement, and in consideration of the Presumptive Fee

Cap (Doc. No. 9863), we conclude that the fee to be paid to Weisberg is not unreasonable and

that it does not exceed either the percentage for which the parties contracted nor the percentage

allowed under the 22% Presumptive Fee Cap. Accordingly, we conclude that the Withdrawal

should be granted and that the Claims Administrator should be ordered to distribute the funds

withheld for attorneys’ fees to the parties as set forth in the Withdrawal. 2



1
   This decision does not concern the propriety of the Monetary Award to the SCM, which has
already been authorized. Rather, it solely addresses the allocation of the portion of the SCM’s
Monetary Award that was set aside by the Claims Administrator for fees and costs of the SCM’s
individually-retained counsel after the filing of an attorney’s lien by prior counsel.
2
   Pursuant to the Court’s Order Regarding Withholdings for Common Benefit Fund (Doc. No.
10104), 5% of the Award is currently being held in the Attorney’s Fees Qualified Settlement Fund,
where it must remain until further order of the Court. The Claims Administrator will ensure that
if any portion of those funds are later released they will be paid pursuant to the agreed terms in the
Withdrawal.
                                                   2
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       AND NOW, this 5th day of August, 2021, it is ORDERED that:

       1.     The Withdrawal of the Lien Dispute is GRANTED; and

       2.     The Claims Administrator is ORDERED to disburse the withheld funds in

accordance with this decision, the provisions of the Settlement Agreement, and all Court Orders

regarding implementation.




                                                   BY THE COURT:



                                                   /s/ David R. Strawbridge, USMJ
                                                   DAVID R. STRAWBRIDGE
                                                   UNITED STATES MAGISTRATE JUDGE




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